20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 1 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 2 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 3 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 4 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 5 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 6 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 7 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 8 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 9 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 10 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 11 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 12 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 13 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 14 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 15 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 16 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 17 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 18 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 19 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 20 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 21 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 22 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 23 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 24 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 25 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 26 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 27 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 28 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 29 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 30 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 31 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 32 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 33 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 34 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 35 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 36 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 37 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 38 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 39 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 40 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 41 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 42 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 43 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 44 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 45 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 46 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 47 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 48 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 49 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 50 of 51
20-08949-rdd   Doc 1   Filed 02/11/20 Entered 02/11/20 13:58:15   Main Document
                                    Pg 51 of 51
